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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SUGARTOWN WORLDWIDE LLC,
TOMMY BAHAMA GROUP, INC., and                       Case No. 20-cv-02187
SOUTHERN TIDE, LLC,
                                                    Judge Sara L. Ellis
               Plaintiffs,
                                                    Magistrate Judge Sidney I. Schenkier
v.
MEMORYHOME STORE, et al.,
               Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on July 22, 2020 [52], in favor

of Plaintiffs Sugartown Worldwide LLC, Tommy Bahama Group, Inc., and Southern Tide, LLC

(collectively “Plaintiffs”) and against the Defendants Identified in Schedule A in the amount of

two hundred thousand dollars ($200,000) of trademark statutory damages and one hundred

thousand dollar ($100,000) of copyright statutory damages per Defaulting Defendant, and Lilly

Pulitzer acknowledges payment of an agreed upon damages amount, costs, and interest and

desires to release this judgment and hereby fully and completely satisfy the same as to the

following Defendants:

                Defendant Name                                        Line No.
                 outstanding zz                                          83
                     wuxiaotao                                            87

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 7th day of August 2020.   Respectfully submitted,
                                     /s/ RiKaleigh C. Johnson
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                                     LLC




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